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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:13CR00149-02 JLH

CARLOS DEABLIS FUTRELL                                                              DEFENDANT

                                             ORDER

       The Court conducted a suppression hearing in this matter on September 9, 2014. Received

into evidence as Government Exhibit No. 1 was the gold plastic DEA-13A Miranda Rights card

carried by the case agent in this case. At the conclusion of the hearing, counsel requested that the

agent be permitted to have the card returned to him. The Court photocopied both sides of the card,

and the copy will be maintained by the Court as substituted Government Exhibit No. 1 until the

motion is ruled upon. The original card was returned to the agent.

       IT IS SO ORDERED this 10th day of September, 2014.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
